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TWENTY-SEVENTH AMENDMENT
FRACTIONAL OFFERING PLAN
FIFTH AND FIFTY-FIFTH RESIDENCE CLUB
TWO EAST 55™ STREET

NEW YORK, NEW YORK 10022

 

Sponsor:

St. Regis Residence Club, New York Inc,
c/o Vistana Signature Experiences, Inc.
9002 San Marco Court
Orlando, Florida 32819
(407) 903-4000

 

Dated: October 24, 2017

 

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10. DEFINITIONS
ll. NO MATERIAL CHANGES
12. EXTENSION OF PLAN 3

 

 

 

 

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Exhibits
A ~ SCHEDULE A— PURCHASE PRICES AND RELATED INFORMATION
B ~ 2016 CONDOMINIUM FINANCIAL STATEMENTS

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TWENTY-SEVENTH AMENDMENT
TO

FRACTIONAL OFFERING PLAN

 

 

INTRODUCTION

This Twenty-Seventh Amendment modifies and supplements the terms of the Fractional Offering Plan
for the Fifth and Fifty-Fifth Residence Club located at Two East 55" Street, New York, New York 10022
dated Febraary 17, 2006 (“Offering Plan”), as amended, and should be read in conjunction with the Offering
Plan, as previously amended.

The terms of this Amendment are as follows:

L STATUS OF CLOSING CLUB INTERESTS

 

As of September 30, 2017, Sponsor closed title on the sale of approximately 301 Club Interests out of
a total of 372 Club Interests, leaving approximately 71 Club Interests available for sale.

2. PURCHASE PRICE SCHEDULE
Annexed hereto as Exhibit “A” is a “Schedule A — Purchase Prices and Related Information” which
reflects the current purchase prices for each of the Club Interests.

THE PURCHASE PRICES SET FORTH IN SCHEDULE A HAVE BEEN SET BY SPONSOR AND
ARE NOT SUBJECT TO APPROVAL BY THE DEPARTMENT OF LAW OR ANY OTHER
GOVERNMENT AGENCT.

 

3. 2016 CLUB FINANCIAL STATEMENTS

Aunexed to the Twenty-Fifth Amendment as Exhibit “F” is a copy of the financial statements of the Club
Association for the year ended December 31, 2015, prepared by Myers, Brettholiz & Company, PA, Certified
Public Accountants, The financial statements of the Club Association for the year ended December 31, 2016 are
not yet available.

4, 2016 CONDOMINIUM FINANCIAL STATEMENTS

Annexed hereto as Exhibit “B” is a copy of the financial statements of the Condominium for the year
ended December 31, 2016, prepared by Myers, Brettholtz & Company, PA, Certified Public Accountants.

 

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5. 2017 CLUB BUDGET

Annexed to the Twenty-Sixth Amendment as Exhibit “B” is the Operating Budget of the Club
Association for the year commencing January 1, 2017, which was adopted by the Club Board.

6. 2017 CONDOMINIUM BUDGET

Annexed to the Twenty-Sixth Amendment as Exhibit “C” is the Operating Budget of the Condominium
for the year commencing January 1, 2017, which was adopted by the Condominium Board.

7. CLUB BOARD

The present officers and members of the Club Board are as follows:

Name Office Affiliation
Skip Kotkins President Club Owner
Keith Balter Vice President & Secretary Club Owner
Guy Collette Treasurer Club Owner
Dale Curtin Director Sponsor

Sponsor does not control the Club Board.

 

8. CONDOMINIUM BOARD

The present officers and members of the Condominium Board are as follows:

Name Office Affiliation
Timothy Grisius President Hotel
Sarab Hays Vice President Hotel
Marvin Schein Vice President Suites
Andrew Bodziak Secretary Hotel
Allison Helminski Treasurer Hotel
David Greenbaum Manager Retail
Keith Balter Manager Club

The Hotel and Retail Board Members will at all times control the Condominium Board through the
designation of a majority of its members.

9. INCORPORATION OF PLAN

‘The Plan, as modified and supplemented by this Amendment, is incorporated herein by reference with the
same effect as if set forth at length.

 

10. DEFINITIONS

Any term used in this Amendment not otherwise defined herein shall have the same meaning ascribed to
it in the Plan.

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1. NO MATERIAL CUANGES

Except as set forth in this Amendment, there have been no material changes of facts or circumstances
affecting the Property or the offering.

12. EXTENSION OF PLAN
This Amendment extends the term of the Plan.

SPONSOR:

ST. REGIS RESIDENCE CLUB, NEW YORK.
INC.

 

 

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EXHIBIT “A”

 

SCHEDULE A ~ PURCHASE PRICES AND RELATED INFORMATION

 

 

 

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Notes to Schedule A

1. The Club Units on Floors 8, 9, 10 and 11 contain studios; one-bedrooms; and two-
bedroom duplexes. The Club Interest in each Club Unit is equal to a fraction, the
numerator of which is four (4) and the denominator of which is fifty-two (52).

Purchasers should refer to the Floor Plans set forth in Part II of the Offering plan for an
approximation of the dimensions and layouts of the Club Units. The “Condominium
Declaration” square footage represents the square foot area of the Club Unit measured
horizontally on each floor from the interior side of the glazing or the exterior walls at the
Building line and/or the Property line to the midpoint of the interior walls and partitions
separating one Club Unit from another Unit, or the public side of the interior walls
separating a Club Unit from public corridors, stairs, elevators and other mechanical
equipment spaces or any Common Elements. Column and mechanical pipes (whether
along the perimeter or with the Club Unit) are not deducted from the square foot area of
the Club Unit. The “useable” square foot area of a Club Unit represents that portion of
the Club Unit to which the Club Owner has access (i.¢., interior painted surfaced to
interior painted surface, including kitchen counters, bathtubs, etc.). The square foot area
and dimensions of the Club Units are approximate and may vary due to field conditions.
No such variation will affect a Purchaser's obligations under the Purchase Agreement or
the Offering Plan unless the square foot area of the Club Unit is diminished by more than
five percent (5%) (excluding interior partitions), therefore affording Purchaser a fifteen
(15) day right to rescind.

The number of rooms in each Club Unit has been computed by Sponsor in accordance
with industry standard as follows:

Type of Club Unit Total Rooms Type of Rooms

Studio 2 1 bedroom, 1 bathroom

One bedroom 3 or 4 1 or 2 bedrooms, 1 bathroom, 1 living room
Two bedroom 5 2 bedrooms, 2 bathrooms, | living room
Two bedroom duplex 5 or 6 2 bedrooms, 2 or 3 bathrooms, 1 living
room

2. THE PURCHASE PRICES AND OTHER TERMS OF SALE OF CLUB INTERESTS
MAY BE NEGOTIATED BY SPONSOR AND, THEREFORE, MAY BE CHANGED.
ACCORDINGLY, PURCHASERS MAY PAY DIFFERENT PURCHASE PRICES
FOR SIMILAR CLUB INTERESTS. The effect of this, as well as the right of Sponsor to
change purchase prices, is more particularly discussed in the Section of the Offering Plan
entitled “Changes in Prices and Facilities.” In addition to the payment of the purchase
price, each Purchaser will be responsible for the payment of certain closing costs and
expenses at the time of Closing, as explained in the Section of the Offering Plan entitled
“Closing Costs”. If Purchaser obtains a mortgage loan from Sponsor or other lender,
Purchaser will be responsible for the payment of additional closing costs and expenses
relating to such loan. There may be an apportionment of certain charges relating to the

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Club Interest at the time of the Closing of Title. THESE PRICES HAVE BEEN SET BY
SPONSOR AND ARE NOT SUBJECT TO REVIEW OR APPROVAL BY THE
DEPARTMENT OF LAW OR ANY OTHER GOVERNMENT AGENCY.

3. The estimated Club Charges contained in this column are for the period from January 1,
2017 to December 31, 2017 based on the “Schedule B — Ciub Budget” prepared by
Sponsor in consultation with the Club Budget Expert. Club Charges include Real Estate
‘Taxes assessed against the Club Units and other Club Expenses. The Club Association
reserves the right to bill Club Members for Club Charges more often than once a year.

The estimated annual Real Estate Taxes of $1,372,499 for the 2017 budget calendar year
for the Club Units are based upon tax assessments published by the City of New York,
that: (a) the approximate allocated assessed taxable value of the Club Units during the
second half of the 2016/2017 tax year is $12,321,283 in the aggregate and during the first
half of the 2017/2018 tax year is estimated to be $12,564,364 in the aggregate for a total
2017 market value of $27,380,618 (rounded); and (b) the effective tax rate in effect for
the 2016/2017 tax year is $10.656 per $100 of assessed valuation and the tax rate in
effect for the 2017/2018 tax year is estimated to be $10.975 per $100 of assessed
valuation with respect to the Club Units. While the legal responsibility for Real Estate
Taxes lies with each Club Member, the Club Association will collect Real Estate Taxes
from each Club Member (which are included in the Club Charges) and remit the same on
behalf of each Club Mernber to the taxing authorities. In addition to these estimated Club
Charges, each Owner will be responsible for mortgage payments under a loan, if any,
obtained to finance the purchase of the Club Interest.

 

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EXHIBIT “B”

 

2016 CONDOMINIUM FINANCIAL STATEMENTS

 

 

 

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FIFTH AND FIFTY-FIFTH CONDOMINIUM
NEW YORK, NEW YORE.
FINANCIAL STATEMENTS
YEARS ENDED DECEMBER 31, 2016 AND 2015

Myers
Brettholtz

COMPANY, PA
CPAs and Consultants

OFFICES IN FORT MYERS AND NAPLES = 12671 Whitehall Drive - Fort Myers, Florida 33907-3626 - 239.939.5775 » fax 239.939.3032

999 Vanderbilt Beach Road, Suite 200 - Naples, Florida 34108 - 239.919.5086 « fax 2399393032
THE EXCEPTION TO THERULE mbcopa@mbcopa.com

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Myers
Brettholtz

COMPANY, PA

CPAs and Consultants
INDEPENDENT AUDITOR’S REPORT

To the Board of Managers of
Fifth and Fifty-Fifth Condominium

We have audited the accompanying financial statements of Fifth and Fifty-Fifth Condominium, which comprise
the balance sheets as of December 31, 2016 and 2015, and the related statements of revenues, expenses and
changes in fund balance and cash flows for the years then ended, and the related notes to the financial statements.

Management’s Responsibility for the Financial Statements

Management is responsible for the preparation and fair presentation of these financial statements in accordance
with accounting principles generally accepted in the United States of America; this includes the design,
implementation, and maintenance of internal control relevant to the preparation and fair presentation of financial
statements that are free from material misstatement, whether due to fraud or error.

Auditor’s Responsibility

Our responsibility is to express an opinion on these financial statements based on our audits. We conducted our
audits in accordance with auditing standards generally accepted in the United States of America. Those standards
require that we plan and perform the audit to obtain reasonable assurance about whether the financial statements
are free from material misstatement.

An audit involves performing procedures to obtain audit evidence about the amounts and disclosures in the
financial statements. The procedures selected depend on the auditor’s judgment, including the assessment of the
risks of material misstatement of the financial statements, whether due to fraud or error. In making those risk
assessments, the auditor considers internal control relevant to the entity’s preparation and fair presentation of the
financial statements in order to design audit procedures that are appropriate in the circumstances, but not for the
purpose of expressing an opinion on the effectiveness of the entity’s internal control. Accordingly, we express no
such opinion. An audit also includes evaluating the appropriateness of accounting policies used and the
reasonableness of significant accounting estimates made by management, as well as evaluating the overall
presentation of the financial statements.

We believe that the audit evidence we have obtained is sufficient and appropriate to provide a basis for our audit
opinion.

Opinion

In our opinion, the financial statements referred to above present fairly, in all material respects, the financial
position of Fifth and Fifty-Fifth Condominium as of December 31, 2016 and 2015, and the results of its
operations and its cash flows for the years then ended, in conformity with accounting principles generally
accepted in the United States of America.

OFFICES IN FORT MYERS ANDNAPLES 12871 Whitehall Drive « Fort Myers, Florida 33907-3626 - 239.939.5775 + fax 239.939.3032
999 Vanderbilt Beach Road, Suite 200 - Naples, Florida 34108 « 239.919.5086 + fax 239.939.3032
THE EXCEPTION TO THE RULE mbcopa@mbcopa.com

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To the Board of Managers of
Fifth and Fifty-Fifth Condominium

Other Matter

The supplementary information on future major repairs and replacements that accounting principles generally
accepted in the United States of America require to be presented to supplement the basic financial statements is
not presented because a replacement fund has not been established, as further described in Note 8. The
supplementary information, although not a part of the basic financial statements, is required by the Financial
Accounting Standards Board, who considers it to be an essential part of financial reporting for placing the basic
financial statements in an appropriate operational, economic, or historical context. Our opinion on the basic
financial statements is not affected by the supplementary information on future major repairs and replacements
that has not been presented.

Report on Supplementary Information

Our audit was performed for the purpose of forming an opinion on the financial statements as a whole. The
schedule of revenues and expenses - budget to actual, which is the responsibility of the Condominium’s
management, is presented for purposes of additional analysis and is not a required part of the financial statements.
Such information, except for the portion marked “unaudited,” was derived from and relates directly to the
underlying accounting and other records used to prepare the financial statements. That information has been
subjected to the auditing procedures applied in the audit of the financial statements and certain additional
procedures, including comparing and reconciling such information directly to the underlying accounting and other
records used to prepare the financial statements or to the financial statements themselves, and other additional
procedures in accordance with auditing standards generally accepted in the United States of America. In our
opinion, that information is fairly stated in all material respects in relation to the financial statements as a whole.
The information marked “unaudited” has not been subjected to the auditing procedures applied in the audit of the
financial statements and, accordingly, we do not express an opinion or provide any assurance on it.

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MYERS, BRETTHOLTZ & COMPANY, PA
Fort Myers, Florida
February 27, 2017

OFFICES IN FORT MYERS AND NAPLES 1267] Whitehall Drive » Fort Myers, Florida 33907-3426 - 239.939.5775 + fax 239.939.3032
999 Vanderbilt Beach Road, Suite 200 + Naples, Florida 34108 - 259.919.5086 - fax 239.939.3032
THE EXCEPTION TO THE RULE mbcopa@mbcopa.com

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FIFTH AND FIPTY-FIFTH CONDOMINIUM

BALANCE SHEETS
DECEMBER 31,
2016
ASSETS
Cash and cash equivalents $ 1,368,563 $
Accounts receivable - members, net 31,911
Due from Manager ~
Prepaid expenses 1,612
Total assets $ 1,402,086 $
LIABILITIES AND FUND BALANCE
LIABILITIES
Accounts payable and accrued expenses $ 10,148 $
Income taxes payable 25
Due to Manager 21,966
Assessments received in advance 9,362
Deferred refurbishment fees =
Total Habilities 41,501
FUND BALANCE 1,360,585
Total abilities and fund balance $ 1,402,086 3

Read Independent Auditor's Report.
The accompanying notes are an integral
part of the financial statements.

4

 

 

2015

1,475,527
14,768
74,557

462

29,375
25

310,100

1,565,314

280,700

1,255,214
1,565,314

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FIFTH AND FIPTY-FIFTH CONDOMINIUM

STATEMENTS OF REVENUES, EXPENSES AND CHANGES IN FUND BALANCE

FOR THE YEARS ENDED DECEMBER 31,

2016
REVENUES
Common charges $ 22,472,731
Refurbishment fees 280,700
Interest 2,196
Late fees and interest 6,100
Total revenues 22,761,727
EXPENSES
Operations 11,049,344
Administrative and general 2,469,888
Telecommunications 510,092
Repairs and maintenance 3,593,482
Energy 2,747,052
Guest laundry 651,890
Administration 1,917
Board and membership meetings 3,529
Provision for uncollectible accounts 42,468
Legal and audit 14,166
Income taxes 25
Insurance 507,149
Management fees 123,804
Total expenses 21,714,806
Excess of revenues over expenses 1,046,921
FUND BALANCE - January 1, 1,255,214
SURPLUS DISTRIBUTION (941,550)
FUND BALANCE - December 31, $ 1,360,585

Read Independent Auditor's Report.
The accompanying notes are an integral
part of the financial statements.

5

 

2015

$ 21,822,303
423
1,529

10,763,664
2,476,587
300,359
3,647,089
2,804,550
355,151
4,558
2,090
1,540
15,047

23
534,539

373,176
682,038

21,824,255

125,880

21,251,079

$1,255,214

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FIFTH AND FIFTY-FIFTH CONDOMINIUM
STATEMENTS OF CASH FLOWS
FOR THE YEARS ENDED DECEMBER 31,

 

2016 2015
CASH FLOWS FROM OPERATING ACTIVITIES
Excess of revenues over expenses $ 1,046,921 $ 573,176
Provision for uncollectible accounts 42,468 1,540
Changes in:
Accounts receivable - members (59,611) (16,308)
Accounts receivable - other - 24,050
Due from Manager 74,557 (74,557)
Prepaid expenses (1,150) 10,131
Accounts payable and accrued expenses (19,227) (137,452)
Due to Manager 21,966 (380,105)
Assessments received in advance 9,362 -
Deferred refurbishment fees (280,700) 7,479
Net cash provided by operating activities 834,586 7,954
CASH FLOWS FROM FINANCING ACTIVITIES
Surplus distribution (941,550) -
Net (decrease) increase in cash (106,964) 7,954
CASH AND CASH EQUIVALENTS - January 1, 1,475,527 1,467,573
CASH AND CASH EQUIVALENTS ~ December 31, $ 1,368,563 $1,475,527
SUPPLEMENTAL INFORMATION
Income taxes paid $ 25 3 25
Interest paid $ - $ -

 

Read Independent Auditor’s Report.
The accompanying notes are an integral
part of the financial statements.

6

 

 

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FIFTH AND FIFTY-FIFTH CONDOMINIUM
NOTES TO FINANCIAL STATEMENTS
DECEMBER 31, 2016 AND 2015

NOTE 1 - THE CONDOMINIUM

Fifth and Fifty-Fifth Condominium (the “Condominium’), was formed on June 13, 2006, to be responsible for the
management of a high-rise estate project (the “Project”) consisting of distinct mixed-use components located in
New York, New York.

The Project consists of: (1) 15 suite units, located on the 10° and 11 floors of the building, (2) 31 club units,
located on the 8%, 9%, 10" and 11% floors of the building, and (3) two commercial units, one of which (the “Hotel
unit”) is located on portions of each floor (other than the 8", 9%, 10%, and 11" floors) of the building and the
“Retail unit” which is located on portions of the 1 and mezzanine floors of the building. The owners of all units
in the Condominium are the only members.

SLT Palm Desert, LLC, a Delaware limited lability company (as to 10.7567% tenant-in-common interest); SLT
Realty Limited Partnership, a Delaware limited partnership (as to a 63.5756% tenant-in-common interest);
Prudential HEI Joint Venture, a Georgia general partnership (as to an 11.3826% tenant-in-common interest); and
SLT St. Louis, LLC, a Delaware limited liability company (as to a 14.2851% tenant-in-common interest) are the
developers of the Project (the “Developer”). Until all units have been sold, the Developer has the right to use and
transact on the property, any business necessary to consummate sale, resale or rental of all the units owned by the
Developer.

NOTE 2 - DATE OF MANAGEMENT’S REVIEW

In preparing the financial statements, the Condominium has evaluated events and transactions for potential
recognition or disclosure through February 27, 2017, the date that the financial statements were available to be
issued.

NOTE 3 - SUMMARY OF SIGNIFICANT ACCOUNTING POLICIES

General Accounting

 

The Condominium prepares its financial statements on the accrual basis of accounting in accordance with
accounting principles generally accepted in the United States of America. Under the accrual basis of accounting,
revenues are recognized when earned and expenses are recognized when incurred.

Accounts Receivable and Allowance for Uncollectible Accounts

 

Accounts receivable are generally considered delinquent when the payment is not received on or before the due
date. The Condominium accounts for potential losses in accounts receivable utilizing the allowance method, The
Condominium maintains an allowance for uncollectible accounts at an amount that it believes is sufficient to
provide adequate protection against future losses. Provisions for losses are determined principally on the basis of
experiences in the preceding years, taking into account historical losses, industry standards and current economic
conditions. All accounts or portions thereof deemed to be uncollectible are written off to the allowance for
uncollectible accounts. Provision for uncollectible accounts expense for the years ended December 31, 2016 and
2015 was $42,468 and $1,540, respectively.

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FIFTH AND FIFTY-FIFTH CONDOMINIUM
NOTES TO FINANCIAL STATEMENTS
DECEMBER 31, 2016 AND 2015

NOTE 3 - SUMMARY OF SIGNIFICANT ACCOUNTING POLICIES (Continued)

Common Property

The Condominium is responsible to preserve and maintain the common property of the Project. Ownership of the
commonly owned assets is vested directly or indirectly in the members, those assets are not titled in the
Condomininm’s name and disposition of those assets by the Board of Managers (the “Board”) is restricted. As a
result, commonly owned assets are not presented in the Condominium’s financial statements.

The general common elements and the hotel limited common elements are set forth in detail at Article 7 of the
Second Amended and Restated Declaration of Fifth and Fifty-Fifth Condominium, as may be amended from time
to time.

Income Taxes

Management has analyzed its various federal and state filing positions and believes that the Condominium’s
income tax filing positions and deductions are well documented, supported and contain no uncertain tax positions.
Additionally, management believes that no accruals for tax liabilities, interest or penalties are required.
Therefore, no reserves for uncertain income tax positions have been recorded. Further, no interest or penalties
have been included since no reserves were recorded. When applicable, such interest and penalties will be reported
as income tax expense. The Association's federal and state income tax returns remain subject to examination by
the Internal Revenue Service and the State of New York, respectively, for three years from the date of filing.

The Condominium has elected to be taxed as a homeowners’ association in accordance with Internal Revenue
Code Section 528. Under that Section, the Condominium is not taxed on uniform assessments t0 members and
other income received from Condominium members solely as a function of their membership in the
Condominium. The Condominium is taxed at a rate of 30% on its investment income and other non-exempt
function income, less allocable expenses. There are no temporary differences between the financial reporting and
tax reporting with respect to the non-exempt function income; therefore, no deferred tax provision has been
recorded. The Condominium incurred an income tax liability of $25 for the years ended December 31, 2016 and
2015.

Fair Value of Financial Instruments
Substantially all of the Condominium’s assets and liabilities, excluding prepaid expenses, assessments received in
advance and deferred refurbishment fees, are considered financial instruments. These assets and liabilities are

reflected at fair value, or at carrying amounts that approximate fair value because of the short maturity of the
instrument.

Revenue Recognition

Common charges revenue is recorded monthly in the amount of the membership assessment allocation specified
for current period operations, and is based on the annual budget adopted by the Board. A proportionate undivided
interest in fee simple absolute (expressed as a percentage) in the common elements is assessed for each unit,
based on square footage.

Late fees and interest revenue is recognized when collected.

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FIFTH AND FIFTY-FIPTH CONDOMINIUM
NOTES TO FINANCIAL STATEMENTS
DECEMBER 31,2016 AND 2015

NOTE 3 - SUMMARY OF SIGNIFICANT ACCOUNTING POLICIES (Continued)
Cash Flows

For purposes of the statement of cash flows, the Condominium considers all highly liquid debt instruments
purchased with an original maturity of three months or less to be cash equivalents.

The Condominium made cash payments for income taxes of $25 during the years ended December 31, 2016 and
2015. The Condominium made no cash payments for interest during the years ended December 31, 2016 or 2015.

Estimates

The preparation of financial statements in conformity with generally accepted accounting principles requires
management to make estimates and assumptions that affect the reported amount of assets and Habilities and
disclosure of contingent assets and liabilities as of the date of the financial statements and the reported amount of
revenues and expenses during the reporting period, Actual results could differ from those estimates.

NOTE 4 - CONCENTRATION OF CREDIT RISK.

The Condominium maintains cash balances at various financial institutions. Accounts at each institution are
insured by the Federal Deposit Insurance Corporation (“FDIC”) up'to $250,000. As of December 31, 2016 and
2015, $0 and $929, respectively, was uninsured, based on the bank statement balances, less the FDIC insurance.
Cash balances at an investment services company and cash equivalents totaling $1,333,281 and $1,199,306, as of
December 31, 2016 and 2015, respectively, are not insured by the FDIC.

As of December 31, 2016 and 2015, the Developer owned the hotel unit and seven suite units, or approximately
44% of the available units.

NOTE 5 - ACCOUNTS RECEIVABLE - MEMBERS

Accounts receivable - members consisted of the following as of December 31,

2016 2015
Common charges $ 75,919 $ 16,308
Less: allowance for uncollectible accounts (44,008) (1,540)

S$ 31911 §$ 14,768

NOTE 6 - DEFERRED REFURBISHMENT FEES

During the year ended December 31, 2013, the Condominium billed members for refurbishment fees totaling
$831,265 for lobby and reception area refurbishment. The refurbishment fees are recognized as the related
expenses are incurred. Unexpended amounts are recorded as deferred revenue on the balance sheet until they are
either expended for the purpose of the original assessment, returned to members or used for another purpose as
determined and approved by the Board. During the year ended December 31, 2016, the Board approved the
transfer of the unexpended refurbishment fees balance of $280,700 to the operating fund.

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FIFTH AND FIFTY-FIFTH CONDOMINIUM
NOTES TO FINANCIAL STATEMENTS
DECEMBER 31,2016 AND 2015

NOTE 7 - RELATED PARTY TRANSACTIONS

During the years ended December 31, 2016 and 2015, the Developer paid common charges of $18,620,232 and
$18,079,584, respectively. As of December 31, 2016 and 2015, there were no amounts due from the Developer.

St. Regis New York Operating LLC (the “Manager”) is an affiliate of the Developer. Substantially all operating
expenses have been allocated to the Condominium from the Manager. As of December 31, 2016, due to Manager
of $21,966 consisted of operating expenses of the Condominium paid by the Manager. As of December 31, 2015,
due from Manager of $74,557 consisted of reimbursements due to the Condominium.

NOTE 8 - REPLACEMENT FUND

A replacement fund has not been established; therefore, no reserve assessments have been levied. If funds are
needed, the Condominium has the right, subject to the Board’s approval, to charge regular assessments, pass
special assessments, or delay major repairs and replacements until funds are available,

NOTE 9 - COMMITMENTS

The Condominium has an agreement ending May 31, 2019, with the Manager. The Manager provides on-site
Management and maintenance services, and off-site administrative and accounting services. The agreement
automatically renews for successive three-year periods unless, at least 90 days prior to the expiration of the then-
current term, either party gives written notice to the other of its election not to extend the term. The management
agreement provides that the Manager may subcontract its rights, duties and obligations under the management
agreement.

The Condominium has a banking agreement ending April 25, 2018 with the Manager, Vistana Residential
Management, Inc. and Vistana Management, Inc. (“VMI’), who has guaranteed or indemnified the
Condominium’s Hability for overdrafts with banks or other entities providing financial services to the
Condominium. The agreement gives VMI the right to reimburse itself for the amount of any overdrafts, if any,
incurred on the Condominium’s behalf. The agreement automatically renews for successive three-year periods
unless terminated according to the terms of the agreement,

NOTE 10 - ECONOMIC DEPENDENCY

The Condominium derived approximately 82% and 83% of its revenme from the Developer during the years
ended December 31, 2016 and 2015, respectively.

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SUPPLEMENTARY INFORMATION

 

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FIFTH AND FPIFTY-FIFTH CONDOMINIUM
SCHEDULE OF REVENUES AND EXPENSES - BUDGET TO ACTUAL
FOR THE YEAR ENDED DECEMBER 31, 2016

 

 

 

 

 

Variance
Favorable
Budget Actual (Unfavorable)
(Unaudited)
REVENUES
Common charges $ 22,472,728 $ 22,472,731 $ 3
Refurbishment fees - 280,700 280,700
Interest 751 2,196 1,445
Late fees and interest 1,163 6,100 4,937
Total revenues 22,474,642 22,761,727 287,085
EXPENSES
OPERATIONS
Managers 655,942 655,942 -
Bellman 516,962 516,962 -
Concierge 184,980 184,980 -
Doonnan 320,898 320,898 -
Page 270,110 270,110 -
Houseperson. 960,028 960,028 -
Public area attendant 193,944 193,944 -
Front office 427,167 427,167 -
Butler 2,432,717 2,432,717 -
Benefits 4,166,768 4,166,768 -
Contract services 202,020 154,071 47,949
Decorations 128,065 83,333 44,732
Uniforms 186,739 147,117 39,622
Cleaning supplies 18,736 12,809 35,927
Operating supplies 282,792 308,281 (25,489)
Cable television 200,927 214,217 (13,290)
Telecommunications 23,184 - 23,184
Total operations 11,171,979 11,049,344 122,635
ADMINISTRATIVE AND GENERAL
Management 691,098 691,098 -
Accounting office 30,251 30,251 -
Human resources 42,917 42,917 ~
Administration 20,786 20,786 -
Security salaries and wages 593,824 593,824 -
Bonus wages 21,627 7,389 14,238
Benefits 767,620 767,620 -
Operating supplies 25,714 39,441 (13,727)
Payroll service 56,093 58,468 (2,375)

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Variance
Favorable
Budget Actual (Onfavorable)
(Unaudited)
ADMINISTRATIVE AND GENERAL (Continued)
Personnel relocation 15,384 7 A438 7,941
Personnel recognition 54,461 70,265 (15,804)
Personnel training 47,906 59,688 (11,782)
Telecommunications 17,002 29,138 (12,136)
Uniforms 8,578 9,708 (1,130)
Postage 2,698 1,572 1,126
Print and stationery 10,690 5,689 5,001
Professional fees and dues 753 7,831 (7,078)
Security 9,408 8,634 774
Bank fees 1,883 2,232 (G49)
Six sigma distribution - 15,894 (15,894)
Total administrative and general 2,418,693 2,469,888 1,195)
TELECOMMUNICATIONS
Salaries and wages 307,451 307,451 -
Benefits 202,641 202,641 -
Total telecommunications 510,092 310,092 -
REPAIRS AND MAINTENANCE
Salaries and wages 1,247,054 1,247,054 -
Benefits 817,569 817,569 -
Alarm maintenance 5,751 6,949 (1,198)
Building 241,433 175,633 65,800
Computer system maintenance 268,446 264,230 4,216
Contract services purchasing 55,916 23,872 32,044
Curtain and drapes - 381 G8D
Electrical and mechanical equipment 16,628 16,387 241
Electric bulbs 30,701 31,782 (081)
Elevators 461,357 398,905 62,452
Engineering supplies 4,283 6,553 (2,270)
Floor coverings 8,557 9,368 (811)
Furniture and equipment 3,573 5,443 (4,870)
Grounds / landscaping 66,965 45,447 21,518
HVAC 75,574 95,352 (19,778)
Keys and locks 9,692 14,776 (5,084)
Laundry equipment 4,934 7,037 (2,103)
Maintenance contract 137,054 146,964 (9,910)
Miscellaneous - 1,405 (1,403)
Operating supplies 2,144 5,516 (3,372)
Painting and decorating 6,355 13,905 (7,550)
Pest control 53,597 40,537 13,060
Plumbing 39,429 106,704 (67,275)
Telecommunications 6,789 ~ 6,789
Television and radio 5,894 3,593 2,301

FIFTH AND FIFTY-FIFTH CONDOMINIUM
SCHEDULE OF REVENUES AND EXPENSES - BUDGET TO ACTUAL (CONTINUED)
FOR THE YEAR ENDED DECEMBER 31, 2016

 

 

 

 

 

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FIFTH AND FIFTY-PIFTH CONDOMINIUM
SCHEDULE OF REVENUES AND EXPENSES - BUDGET TO ACTUAL (CONTINUED)
FOR THE YEAR ENDED DECEMBER 31, 2016

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Variance
Favorable
Budget Actual (Unfavorable)
(Unaudited)
REPAIRS AND MAINTENANCE (Continued)
Signs 2,859 1,046 1,813
Tools 8,411 4,727 3,684
Uniforms 3,692 5,395 (1,703)
Waste removal 103,623 96,952 6,671
Total repairs and maintenance 3,683,280 3,593,482 94,798
ENERGY
Electric current 1,638,642 1,381,992 256,650
Steam 889,683 802,990 86,693
Sewer 336,041 353,743 (7,702)
Water 193,767 208,327 (44,560)
Total energy 3,058,133 2,147,052 311,081
GUEST LAUNDRY
Salaries and wages 371,359 371,359 -
Benefits 268,084 268,084 -
Print and stationery 2,391 520 1,871
Uniforms 1,415 2,636 (1,221)
Miscellaneous - 4 (4)
Operating supplies 9,565 9,287 278
Total guest laundry 652,814 651,890 924
ADMINISTRATION
Administration 1176 1,176 -
Administration other 3,060 TAL 2,319
Total administration . 4,236 1917 2,319
BOARD AND MEMBERSHIP MEETINGS 6,000 3,529 2ATL
PROVISION FOR UNCOLLECTIBLE ACCOUNTS 25,000 42,468 (47,468)
LEGAL AND AUDIT
Legal 5,158 6,466 (1,308)
Audit 7,500 7,700 (200)
Total legal and audit 12,658 14,166 508)
INCOME TAXES 300 25 275
INSURANCE 577,653 507,149 70,504

 

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FIFTH AND FIPTY-FIFTH CONDOMINIUM
SCHEDULE OF REVENUES AND EXPENSES - BUDGET TO ACTUAL (CONTINUED)
FOR THE YEAR ENDED DECEMBER 31, 2016

 

 

 

 

Variance

Favorable
Budget Actual (Onfavorable)

(Unaudited)

MANAGEMENT FEES 123,804 123,804 -
CONTINGENCY 225,000 - 225,000
Total expenses 22,474,642 21,714,806 759,836
Excess of revenues over expenses $ - S$ 1,046,921 $1,046,921

 

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